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  EXHIBIT A
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        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                          San Francisco District Office
                                                                          450 Golden Gate Avenue 5 West, PO Box 36025
                                                                                              San Francisco, CA 94102
                                                                                                        (650) 684-0910
                                                                                               Website: www.eeoc.gov


                       DISMISSAL AND NOTICE OF RIGHTS
                       (This Notice replaces EEOC FORMS 161 & 161-A)

                                       Issued On: 02/22/2023
To: Carolina Strifling
    729 Boylston Street Suite 2000
    Boston, MA 02116
Charge No: 550-2023-00492
EEOC Representative and email:       GISSELLE PEREZ
                                     Investigator Support Assistant
                                     gisselle.perez@eeoc.gov


                                   DISMISSAL OF CHARGE

The EEOC has granted your request that the agency issue a Notice of Right to Sue, where it is
unlikely that EEOC will be able to complete its investigation within 180 days from the date the
charge was filed.
The EEOC is terminating its processing of this charge.

                              NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)
If you file suit, based on this charge, please send a copy of your court complaint to this office.

                                               On behalf of the Commission,

                                               Digitally Signed By:Nancy Sienko
                                               02/22/2023
                                               Nancy Sienko
                                               District Director
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Cc:
Mary Hansbury
mhansbury@twitter.com

Shannon Liss-Riordan
Lichten & Liss-Riordan, P.C. Attorneys of Law
729 Boylston Street
Boston, MA 02116


Please retain this notice for your records.
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Enclosure with EEOC Notice of Closure and Rights (01/22)




                               INFORMATION RELATED TO FILING SUIT
                              UNDER THE LAWS ENFORCED BY THE EEOC
 (This information relates to filing suit in Federal or State court under Federal law. If you also
plan to sue claiming violations of State law, please be aware that time limits may be shorter and
           other provisions of State law may be different than those described below.)

IMPORTANT TIME LIMITS – 90 DAYS TO FILE A LAWSUIT
If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).
If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint
in court within 2 years (3 years for willful violations) of the date you did not receive equal pay.
This time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title
VII, the ADA, GINA or the ADEA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA claim, your lawsuit
must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.
ATTORNEY REPRESENTATION
For information about locating an attorney to represent you, go to:
https://www.eeoc.gov/employees/lawsuit.cfm.
In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
request your charge file under either or both procedures. EEOC can generally respond to Section 83
requests more promptly than FOIA requests.
Since a lawsuit must be filed within 90 days of this notice, please submit your request for the charge
file promptly to allow sufficient time for EEOC to respond and for your review. Submit a signed
written request stating it is a “FOIA Request” or a “Section 83 Request” for Charge Number 550-
2023-00492 to the District Director at Nancy Sienko, 450 Golden Gate Avenue 5 West PO Box
36025
San Francisco, CA 94102.
You can also make a FOIA request online at https://eeoc.arkcase.com/foia/portal/login.
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Enclosure with EEOC Notice of Closure and Rights (01/22)



You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
provide a copy of the court complaint to EEOC.
For more information on submitting FOIA Requests and Section 83 Requests, go to:
https://www.eeoc.gov/eeoc/foia/index.cfm.
